              Case: 1:21-cv-01776-PAB Doc #: 29-7 Filed: 12/07/21 1 of 1. PageID #: 961
Message
From:           Steven Ricanati [sxr18@case.edul
Sent:           4/15/2021 6:24:14 PM
To:             Darnell Parker [dtp29@case.edu]
Subject:        Re: Update
Attachments:    IM G_3806.jpg


Darnell,
Thank you for the update. He just posted the attachment on the class groupme and students are furious. They
have removed him from the group me.
Please call me
Steve


On Thu, Apr 15, 2021 at 4:20 PM Darnell Parker <dtta29@case.edu> wrote:
 Hi Steve,

I wanted to let you know that both students received their outcome letters.
The male student was found not responsible by a panel. The Complainant
can still appeal


Let me know if you have any questions.

 Darnell


Darnell T. Parker, Ed.D.
Senior Associate Vice President for Equity
 University Title IX/Section 504 Coordinator
 Office of Equity

 Phone: 216-368-3066
 E-mail: darnell.parker(case.edu
 Website: http: / /case.edu/eguity/

 Pronouns: he         I him I his


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